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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       No. 4:20CR00303 DPM
                                                    )
JERODE DICKERSON                                    )

                                      STATUS REPORT

       COMES NOW Assistant United States Attorney Lauren Eldridge, and for a status

report to the Court, states:

       1.       This case is set for jury trial on April 24, 2023.

       2.       The United States has conveyed an offer to counsel for the defendant.

       3.       At this time, the United States has not received a response regarding how

the defendant wishes to proceed with the case.



                                                    Respectfully submitted,
                                                    JONATHAN D. ROSS
                                                    United States Attorney


                                             By:    Lauren Eldridge
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